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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION



UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                    No. 4:02CR00170-02 GH



ANTHONY PAUL FIGUEIRA                                                                DEFENDANT



                                             ORDER

       By order filed on August 12th, the Court denied defendant’s July 11th motion for early

termination of supervised release without prejudice to renew his motion on December 31st as

outlined in the government’s August 8th response.

       On November 25th, defendant filed a renewed motion to terminate his supervised release

again stating that he has met all his financial obligations and held a steady job during his release,

he has complied and met all obligations imposed by the Court and the U.S. Probation during the 18

months on release, he has donated blood and done volunteer work with the local Little League

Baseball Association during his 18 months on supervised release, and he has done volunteer work

in Mt. Carmel Church and has been a law abiding and productive citizen in the community during

his 18 months on supervised release. The government has reaffirmed to a member of the Court’s

staff that it will not oppose the motion as long as the supervising probation office does not object.

The Court received confirmation this date from the Newark, New Jersey probation office to a staff




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member that defendant has satisfied the conditions of his release and has had no problems while on

supervision.

       Accordingly, defendant’s November 25th motion (#267) for early termination of supervised

release is hereby granted.

       IT IS SO ORDERED this 29th day of December, 2005.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE




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